                                      Case 18-50946              Doc 1        Filed 09/07/18           Page 1 of 10

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Product Quest Manufacturing, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  330 Carswell Avenue
                                  Holly Hill, FL 32117
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Volusia                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                        Case 18-50946               Doc 1         Filed 09/07/18              Page 2 of 10
Debtor    Product Quest Manufacturing, LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3256

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                     Case 18-50946                 Doc 1        Filed 09/07/18            Page 3 of 10
Debtor   Product Quest Manufacturing, LLC                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                     Case 18-50946                Doc 1        Filed 09/07/18             Page 4 of 10
Debtor    Product Quest Manufacturing, LLC                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 7, 2018
                                                  MM / DD / YYYY


                             X   /s/ Michael J. Musso                                                     Michael J. Musso
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ John A. Northen                                                       Date September 7, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John A. Northen
                                 Printed name

                                 Northen Blue, LLP
                                 Firm name

                                 PO Box 2208
                                 Chapel Hill, NC 27515
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-968-4441                  Email address


                                 6789 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Product Quest Manufacturing, LLC                                                 Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Ei LLC                                                                  Relationship to you               Affiliate
District   Middle District of North Carolina          When     9/07/18             Case number, if known
Debtor     JBTRS, L.L.C.                                                           Relationship to you               Affiliate
District   Middle District of North Carolina          When     9/07/18             Case number, if known
Debtor     PQ Real Estate LLC                                                      Relationship to you               Affiliate
District   Middle District of North Carolina          When     9/07/18             Case number, if known
Debtor     Product Quest Logistics, LLC                                            Relationship to you               Affiliate
District   Middle District of North Carolina          When     9/07/18             Case number, if known
Debtor     Scherer Labs International, LLC                                         Relationship to you               Affiliate
District   Middle District of North Carolina          When     9/07/18             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
                                          Case 18-50946                   Doc 1        Filed 09/07/18            Page 6 of 10




 Fill in this information to identify the case:

 Debtor name         Product Quest Manufacturing, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 7, 2018                       X /s/ Michael J. Musso
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael J. Musso
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Product Quest Manufacturing, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF NORTH                                                                                     Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BLUE SUN                                                        trade                                                                                                    $82,987.03
 INTERNATIONAL
 Attn: Managing
 Agent
 2201 NW 102ND
 PLACE
 UNIT 4A
 MIAMI, FL 33172
 BOV SOLUTIONS                                                   trade                                                                                                  $133,062.47
 Attn: Managing
 Agent
 PO BOX 6704
 GREENVILLE, SC
 29606
 CENTRAL FLORIDA                                                 trade                                                                                                  $107,198.62
 BOX CORP
 Attn: Managing
 Agent
 PO BOX 4538
 ORLANDO, FL
 32802
 CONDENSA                                                        trade                                                                                                    $74,045.66
 ALUMINUM
 PACKAGING
 Attn: Managing
 Agent
 AVENIDA
 MARATHON 2879
 MACUL
 SANTIAGO
 00781-0772
 CONSOLIDATED                                                    trade                                                                                                  $327,027.37
 LABELS
 Attn: Managing
 Agent
 2001 EAST LAKE
 MARY BLVD
 SANFORD, FL 32773

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Product Quest Manufacturing, LLC                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 COSPHATECH                                                      trade                                                                                                  $162,141.90
 Attn: Managing
 Agent
 1729 NW 84TH
 AVENUE
 MIAMI, FL 33126
 CUSTOM                                                          trade                                                                                                  $148,720.18
 INGREDIENTS INC
 Attn: Managing
 Agent
 PO BOX 772
 CHESTER, SC 29706
 EMPIREEMCO INC                                                  trade                                                                                                  $112,726.22
 Attn: Managing
 Agent
 2430 N. FOREST
 ROAD SUITE 125
 GETZVILLE, NY
 14068
 ESSENTIAL                                                       trade                                                                                                  $276,232.59
 INGREDIENTS
 Attn: Managing
 Agent
 2408 TECHNOLOGY
 CENTER PARKWAY
 SUITE 200
 LAWRENCEVILLE,
 GA 30043
 LIQUID                                                          trade                                                                                                  $104,375.41
 ENVIRONMENTAL
 SOLUTIONS
 Attn: Managing
 Agent
 PO BOX 733372
 DALLAS, TX
 75373-3372
 MICROBAC                                                        trade                                                                                                  $166,839.16
 LABORATORIES
 INC
 Attn: Managing
 Agent
 LOCATOR XA
 PO BOX 644733
 PITTSBURGH, PA
 15264-4733
 MJS PACKAGING                                                   trade                                                                                                  $251,966.35
 Attn: Managing
 Agent
 35601 VERONICA
 STREET
 LIVONIA, MI 48150



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Product Quest Manufacturing, LLC                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 MULTI PACKAGING                                                 trade                                                                                                  $217,797.60
 SOLUTIONS INC
 Attn: Managing
 Agent
 75 REMITTANCE
 DRIVE STE 3111
 CHICAGO, IL
 60675-3111
 PACKAGING                                                       trade                                                                                                    $90,436.00
 CONCEPTS
 ASSOCIATES LLC
 Attn: Managing
 Agent
 230 ELLA GRASSO
 AVENUE
 TORRINGTON, CT
 06790
 REMEDY                                                          temp labor                                                                                             $244,028.07
 INTELLIGENT
 STAFFING
 Attn: Managing
 Agent
 PO BOX 116834
 ATLANTA, GA
 30368-6834
 SHANGHAI BLOPAK                                                 trade                                                                                                    $80,888.94
 COMPANY LIMITED
 Attn: Managing
 Agent
 No. 2000, Jin Hui
 Road
 Min Hang District
 SHANGHAI
 00020-1107
 SUMMIT                                                          trade                                                                                                  $124,688.25
 PACKAGING
 SYSTEMS
 Attn: Managing
 Agent
 PO BOX 5500
 LEWISTON, ME
 04243-5500
 TRICOR BRAUN                                                    trade                                                                                                  $442,618.46
 Attn: Managing
 Agent
 LOCKBOX
 IDENTIFICATION
 638369
 PO BOX 638369
 CINCINNATI, OH
 45263-8369



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Debtor    Product Quest Manufacturing, LLC                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 WATER RECOVERY                                                  trade                                                                                                  $103,158.80
 LLC
 Attn: Managing
 Agent
 75D YORK AVENUE
 RANDOLPH, MA
 02368
 XPO - CONWAY                                                    freight                                                                                                $114,999.23
 FREIGHT INC
 Attn: Managing
 Agent
 PO BOX 5160
 PORTLAND, OR
 97208-5160




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4

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